 Case 1:19-cv-00038-AJT-TCB Document 1 Filed 01/09/19 Page 1 of 7 PageID# 1



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION



BROADCAST MUSIC, INC.; INTERIOR
MUSIC CORP.; MJ PUBLISHING TRUST
d/b/a MIJAC MUSIC; SONY/ATV SONGS
LLC.; and CINDERFUL MUSIC,                            CIVIL ACTION NO.: 1:19-cv-00038___

                       Plaintiffs,
                                                      COMPLAINT
       v.

GT LEESBURG 2014, LLC d/b/a THE
GREENE TURTLE, AND BRENT BYER,
DARLENE BYER, AND DAVID BYER, each
individually,

                       Defendants.



              Plaintiffs, by their attorneys, for their Complaint against Defendants, allege as

follows (on knowledge as to Plaintiffs; otherwise on information and belief):

                                     JURISDICTION AND VENUE

       1.      This is a suit for copyright infringement under the United States Copyright Act of

1976, as amended, 17 U.S.C. Sections 101 et seq. (the “Copyright Act”).              This Court has

jurisdiction pursuant to 28 U.S.C. Section 1338(a).

       2.      Venue is proper in this judicial district pursuant to 28 U.S.C. Section 1400(a).

                                          THE PARTIES

       3.      Plaintiff Broadcast Music, Inc. (“BMI”), is a corporation organized and existing

under the laws of the State of Delaware. BMI’s principal place of business is 7 World Trade

Center, 250 Greenwich Street, New York, New York 10007. BMI has been granted the right to
 Case 1:19-cv-00038-AJT-TCB Document 1 Filed 01/09/19 Page 2 of 7 PageID# 2



license the public performance rights in 14 million copyrighted musical compositions (the “BMI

Repertoire”), including those which are alleged herein to have been infringed.

        4.       The Plaintiffs other than BMI are the owners of the copyrights in the musical

compositions, which are the subject of this lawsuit. All Plaintiffs are joined pursuant to Fed. R.

Civ. P. 17(a) and 19(a).

        5.       Plaintiff Interior Music Corp. is a corporation. This Plaintiff is a copyright owner of

at least one of the songs in this matter.

        6.       Plaintiff Sony/ATV Songs, LLC is a limited liability company. This Plaintiff is a

copyright owner of at least one of the songs in this matter.

        7.       Plaintiff Cinderful Music is a sole proprietorship owned by William Patrick Corgan.

This Plaintiff is a copyright owner of at least one of the songs in this matter.

        8.       Plaintiff MJ Publishing Trust is a Trust d/b/a Mijac Music. This Plaintiff is a

copyright owner of at least one of the songs in this matter.

        9.       Defendant GT Leesburg 2014, LLC is a limited liability company organized and

existing under the laws of the state of Virginia, which operates, maintains and controls an

establishment known as The Greene Turtle, located at 603 Potomac Station Drive, Leesburg, VA

20176, in this district (the “Establishment”).

        10.      In connection with the operation of the Establishment, Defendant GT Leesburg

2014, LLC publicly performs musical compositions and/or causes musical compositions to be

publicly performed.

        11.      Defendant GT Leesburg 2014, LLC has a direct financial interest in the

Establishment.




                                                   2
 Case 1:19-cv-00038-AJT-TCB Document 1 Filed 01/09/19 Page 3 of 7 PageID# 3



       12.       Defendant Brent Byer operates, maintains and controls the Establishment. In

connection with the operation of this business, Defendant Brent Byer publicly performs musical

compositions and/or causes musical compositions to be publicly performed.

       13.       Defendant Brent Byer is an owner of Defendant GT Leesburg 2014, LLC with

responsibility for the operation and management of that limited liability company and the

Establishment.

       14.       Defendant Brent Byer has the right and ability to supervise the activities of

Defendant GT Leesburg 2014, LLC and a direct financial interest in that limited liability company

and the Establishment.

       15.       Defendant Darlene Byer operates, maintains and controls an establishment known as

The Greene Turtle, located at 603 Potomac Station Drive, Leesburg, VA 20176, in this district. In

connection with the operation of this business, Defendant Darlene Byer publicly performs musical

compositions and/or causes musical compositions to be publicly performed.

       16.       Defendant Darlene Byer is an owner of Defendant GT Leesburg 2014, LLC with

responsibility for the operation and management of that limited liability company and the

Establishment.

       17.       Defendant Darlene Byer has the right and ability to supervise the activities of

Defendant GT Leesburg 2014, LLC and a direct financial interest in that limited liability company

and the Establishment.

       18.       Defendant David Byer operates, maintains and controls an establishment known as

The Greene Turtle, located at 603 Potomac Station Drive, Leesburg, VA 20176, in this district. In




                                                 3
 Case 1:19-cv-00038-AJT-TCB Document 1 Filed 01/09/19 Page 4 of 7 PageID# 4



connection with the operation of this business, Defendant publicly performs musical compositions

and/or causes musical compositions to be publicly performed.

        19.      Defendant David Byer is an owner of Defendant GT Leesburg 2014, LLC with

responsibility for the operation and management of that limited liability company and the

Establishment.

        20.      Defendant David Byer has the right and ability to supervise the activities of

Defendant GT Leesburg 2014, LLC and a direct financial interest in that limited liability company

and the Establishment.

                            CLAIMS OF COPYRIGHT INFRINGEMENT

        21.      Plaintiffs repeat and reallege each of the allegations contained in paragraphs 1

through 20 as if fully set forth herein.

        22.      Since August 2014, BMI has reached out to Defendants over 100 times, by phone,

in-person visits, mail, and email, in an effort to educate Defendants as to their obligations under the

Copyright Act with respect to the necessity of purchasing a license for the public performance of

musical compositions in the BMI Repertoire. Included in the letters were Cease and Desist Notices,

providing Defendants with formal notice that they must immediately cease all use of BMI-licensed

music in the Establishment. BMI actually spoke with one or more of the Defendants at least eight

(8) times, but Defendants continued to refuse to enter into a licensing agreement with BMI and/or

to cease and desist playing unlicensed music from the BMI repertoire.

        23.      During the entire period of time, the Establishment was open for business and

played and/or caused to be played musical compositions in the BMI Repertoire by live music and




                                                  4
 Case 1:19-cv-00038-AJT-TCB Document 1 Filed 01/09/19 Page 5 of 7 PageID# 5



karaoke, as confirmed through conversations with representatives of the Establishment, social

media, and the observations of BMI’s music researcher.

       24.     Plaintiffs allege four (4) claims of willful copyright infringement, based upon

Defendants’ unauthorized public performance of musical compositions from the BMI Repertoire.

All of the claims for copyright infringement joined in this Complaint are governed by the same

legal rules and involve similar facts.     Joinder of these claims will promote the convenient

administration of justice and will avoid a multiplicity of separate, similar actions against

Defendants.

       25.     Annexed to this Complaint as Exhibit 1 is a schedule (the “Schedule”) and

incorporated herein is a list identifying some of the many musical compositions whose copyrights

were infringed by Defendants. The Schedule contains information on the four (4) claims of

copyright infringement at issue in this action. Each numbered claim has the following eight lines of

information (all references to “Lines” are lines on the Schedule): Line 1 providing the claim

number; Line 2 listing the title of the musical composition related to that claim; Line 3 identifying

the writer(s) of the musical composition; Line 4 identifying the publisher(s) of the musical

composition and the plaintiff(s) in this action pursuing the claim at issue; Line 5 providing the date

on which the copyright registration was issued for the musical composition; Line 6 indicating the

copyright registration number(s) for the musical composition; Line 7 showing the date of

infringement; and Line 8 identifying the Establishment where the infringement occurred.

       26.     For each work identified on the Schedule, the person(s) named on Line 3 was the

creator of that musical composition.




                                                  5
 Case 1:19-cv-00038-AJT-TCB Document 1 Filed 01/09/19 Page 6 of 7 PageID# 6



        27.      For each work identified on the Schedule, on or about the date indicated on Line 5,

the publisher(s) named on Line 4 (including any predecessors in interest), complied in all respects

with the requirements of the Copyright Act and received from the Register of Copyrights

Certificates of Registration bearing the number(s) listed on Line 6.

        28.      For each work identified on the Schedule, on the date listed on Line 7, Plaintiff BMI

was (and still is) the licensor of the public performance rights in the musical composition identified

on Line 2. For each work identified on the Schedule, on the date listed on Line 7, the Plaintiff(s)

listed on Line 4 was (and still is) the owner of the copyright in the respective musical composition

listed on Line 2.

        29.      For each work identified on the Schedule, on the date listed on Line 7, Defendants

publicly performed and/or caused to be publicly performed at the Establishment the musical

composition identified on Line 2 without a license or permission to do so. Thus, Defendants have

committed copyright infringement.

        30.      The specific acts of copyright infringement alleged in the Complaint, as well as

Defendants’ entire course of conduct, have caused and are causing Plaintiffs great and incalculable

damage.       By continuing to provide unauthorized public performances of works in the BMI

Repertoire at the Establishment, Defendants threaten to continue committing copyright

infringement. Unless this Court restrains Defendants from committing further acts of copyright

infringement, Plaintiffs will suffer irreparable injury for which they have no adequate remedy at

law.




                                                   6
 Case 1:19-cv-00038-AJT-TCB Document 1 Filed 01/09/19 Page 7 of 7 PageID# 7



           WHEREFORE, Plaintiffs pray that:

           (I)     Defendants, their agents, servants, employees, and all persons acting under their

permission and authority, be enjoined and restrained from infringing, in any manner, the

copyrighted musical compositions licensed by BMI, pursuant to 17 U.S.C. Section 502;

           (II)    Defendants be ordered to pay statutory damages, pursuant to 17 U.S.C. Section

504(c);

           (III)   Defendants be ordered to pay costs, including a reasonable attorney’s fee, pursuant

to 17 U.S.C. Section 505; and

           (IV) Plaintiffs have such other and further relief as is just and equitable.



Dated: January 9, 2019                                   BROADCAST MUSIC, INC.; INTERIOR
                                                         MUSIC CORP.; MJ PUBLISHING TRUST
                                                         d/b/a MIJAC MUSIC; SONY/ATV SONGS
                                                         LLC.; and CINDERFUL MUSIC,


                                                         By: /s/ Elizabeth S. Flowers
                                                                        Of Counsel

                                                         John C. Lynch (VSB No. 39267)
                                                         Elizabeth S. Flowers (VSB No. 78487)
                                                         David M. Asbury (VSB No. 88977)
                                                         Counsel for Plaintiffs
                                                         TROUTMAN SANDERS LLP
                                                         222 Central Park Avenue, Suite 2000
                                                         Virginia Beach, VA 23462
                                                         Telephone: (757) 687-7537
                                                         Facsimile: (757) 687-1546
                                                         E-mail: john.lynch@troutman.com
                                                         E-mail: liz.flowers@troutman.com
                                                         E-mail: david.asbury@troutman.com




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